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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                  ROME DIVISION


   IN RE:                                          )    CHAPTER 13
   MICHAEL SHANNON ARP                             )
                                                   )
                                                   )    CASE NO. 20-40924-PWB
   DEBTOR                                          )
                                                   )    JUDGE BONAPFEL


                            AMENDMENT TO SCHEDULE G

          COMES NOW, MICHAEL SHANNON ARP, Debtor, in the above-styled
   bankruptcy proceeding, and files this Amendment to Schedule G, Statistical Summary of
   Certain Liabilities, and Summary of Schedules, respectfully showing as follows:

          Schedule G Executory Contracts and Unexpired Leases heretofore filed in this
   proceeding is hereby amended to reflect a rental lease.

          This Monday, June 29, 2020.


                                        __/s/Jeffrey B. Kelly
                                        JEFFREY B. KELLY
                                        Law Office of Jeffrey B. Kelly, P.C.
                                        Attorney for Debtor
                                        Georgia Bar No. 412798

   107 E. 5th Avenue
   Rome, GA 30161
   (678) 861-1127 (Phone)
   (706) 413-1365 (Fax)
   lawoffice@kellycanhelp.com
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                                           AFFIDAVIT

             The undersigned hereby declares under penalty of perjury, that the statements

   made in the foregoing are true and correct to the best of his information, knowledge and

   belief.

             This Monday, June 29, 2020.


   /s/ Michael Shannon Arp
   DEBTOR
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                                                                      Document     Page 3 of 7
 Fill in this information to identify your case:

 Debtor 1                Michael Shannon Arp
                         First Name                         Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number           20-40924-pwb
 (if known)
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      Seven Hill Rentals                                                      Rental property
              FKA JFR Realty
              176 2nd St.
              Rome, GA 30161




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Michael Shannon Arp
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


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 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              18,275.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $              18,275.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $              21,777.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $                9,100.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $              17,185.00


                                                                                                                                     Your total liabilities $                    48,062.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                2,966.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                2,306.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                                                 page 1 of 2
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 Debtor 1      Michael Shannon Arp                                                        Case number (if known) 20-40924-pwb

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $           3,963.97


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              9,100.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 9,100.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                    Michael Shannon Arp
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number              20-40924-pwb
 (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Michael Shannon Arp                                                   X
              Michael Shannon Arp                                                       Signature of Debtor 2
              Signature of Debtor 1

              Date       June 29, 2020                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                             CERTIFICATE OF SERVICE


   This is to certify that I have this day served a copy of the foregoing Amendment to
   Schedule G, Statistical Summary of Certain Liabilities, and Summary of Schedules
   on the following by U. S. Mail, in a properly stamped and addressed envelope.

   Chapter 13 Trustee
   Mary Ida Townson
   285 Peachtree Center Avenue NE
   Suite 1600
   Atlanta, GA 30303

   Michael Arp
   3301 Garden Lakes Pkwy
   Apt 25A
   Rome, GA 30165


   This Monday, June 29, 2020.


                                      __/s/Jeffrey B. Kelly
                                      JEFFREY B. KELLY
                                      Law Office of Jeffrey B. Kelly, P.C.
                                      Attorney for Debtor
                                      Georgia Bar No. 412798

   107 E. 5th Avenue
   Rome, GA 30161
   (678) 861-1127 (Phone)
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   lawoffice@kellycanhelp.com
